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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORK
- - - - - - - - - - - - - - - - - -      x
                                         :
UNITED STATES OF AMERICA                 :       ORDER
                                         :
      -v.-                               :       19 Cr. 96 (LTS)
                                         :
SYDNEY SCALES and                        :
ERNEST HORGE,                            :
                                         :
                  Defendants.            :
                                         :
                                         :
- - - - - - - - - - - - - - - - - -      x

             WHEREAS, with the consent of defendants SYDNEY SCALES,

his attorney Justine Harris, Esq., and ERNEST HORGE, through his

attorney, Matthew Myers, Esq., the Government requested leave to

publicly file a redacted version of its opposition to HORGE’s

motions for severance, a bill of particulars, and to dismiss, and

to file an unredacted version under seal;

             WHEREAS, the Government has set forth specific facts

detailing why public filing of the unredacted version would pose

a danger to cooperating witnesses and their families;

             WHEREAS, upon review of the unredacted version, the

Court finds that the redacted contents of the opposition are

sufficiently detailed to potentially allow others to identify

cooperating witnesses, which is likely to lead to tampering with,

or retaliation against, such witnesses,
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             IT IS HEREBY ORDERED that the Government’s unredacted

opposition to HORGE’s motions may be filed under seal, with a

redacted version filed on the public docket.



SO ORDERED.

Dated:       New York, New York
             October 19, 2020

                                     /s/ Laura Taylor Swain
                                     HONORABLE LAURA TAYLOR SWAIN
                                     UNITED STATES DISTRICT JUDGE
